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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS

 NEW CINGULAR WIRELESS PCS LLC,     )
 d/b/a AT&T MOBILITY,               )
                                    )
                 Plaintiff,         )                         No. 3:20-cv-01327 NJR
                                    )
            vs.                     )
                                    )
 MONROE COUNTY BOARD OF ZONING      )
 APPEALS and MONROE COUNTY BOARD OF )
 COMMISSIONERS,                     )
                                    )
                 Defendants.        )


                                    ENTRY OF APPEARANCE

 To the Clerk of Court and all parties of record:

          I hereby enter my appearance as counsel for Plaintiff New Cingular Wireless PCS LLC,

 d/b/a AT&T Mobility.



Dated: October 13, 2021                        Respectfully submitted,

                                               By: /s/ Cathleen S. Aubuchon
                                                  Cathleen S. Aubuchon MO # 69946
                                                  Norton Rose Fulbright US LLP
                                                  7676 Forsyth Blvd., Suite 2230
                                                  St. Louis, Missouri 63105
                                                  Telephone: (314) 505-8800
                                                  Facsimile: (314) 505-8899
                                                  cate.aubuchon@nortonrosefulbright.com

                                               Attorneys for Plaintiff




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